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                           IN THE UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF TENNESSE
                                     JACKSON DIVISION


UNITED STATES OF AMERICA,


Plaintiff,


VS.                                                     CR. NO. 1:17-10067-STA




JENNIFER MELTON,


Defendant.




             ORDER GRANTING MOTION TO CONTINUE AND NOTICE OF RESETTING
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        This cause came upon the Motion of defense counsel, Robert L. Parris, to strike the

Defendant’s Sentencing Hearing date of Tuesday, July 16th, 2019 at 1:30 P.M. For good cause

shown, the Court hereby grants the Defendant’s Motion. Defendant’s case is hereby reset to

Friday, September 6, 2019 at 10:00 o’clock, a.m.


IT IS SO ORDERED this 15th day of July, 2019.


                                           s/S. Thomas Anderson
                                           CHIEF JUDGE S. THOMAS ANDERSON
                                           UNITED STATES CHIEF DISTRICT JUDGE
